

People v Bey (2025 NY Slip Op 02998)





People v Bey


2025 NY Slip Op 02998


Decided on May 15, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 15, 2025

Before: Kern, J.P., Kennedy, González, Shulman, O'Neill Levy, JJ. 


Ind No. 2266/18|Appeal No. 4364|Case No. 2019-03552|

[*1]The People of the State of New York, Respondent,
vNami Bey, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Lorraine Maddalo of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Michael D. Tarbutton of counsel), for respondent.



Judgment, Supreme Court, New York County (Curtis J. Farber, J.), rendered April 17, 2019, convicting defendant, upon her guilty plea, of attempted assault in the second degree, and sentencing her to a term of 1 to 3 years, unanimously affirmed.
Defendant's challenge to the validity of her guilty plea is unpreserved (see People v Conceicao, 26 NY3d 375, 381 [2015]; People v Correa, 228 AD3d 409, 409-410 [2024], lv denied 42 NY3d 1079 [2025]), and we decline to address it in the interest of justice. As an alternative holding, we reject the claim on the merits. Where two examining psychiatrists found defendant fit to proceed, the court made adequate inquiry into defendant's mental state during the plea proceeding where "there was no reasonable ground to believe that [s]he was unable to understand the proceedings or to assist in h[er] defense" (People v Beals, 2 AD3d 329 [1st Dept 2003], lv denied 2 NY3d 761 [2024]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 15, 2025








